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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CATALIN YAMYLETH ELIGIO,

                                       Plaintiff,                      20 Civ. 8521 (PAE)
                        -v-
                                                                            ORDER
 COMMISSIONER OF SOCIAL SECURITY,

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

       In a separate Order, this case has been referred to one of the Court’s Magistrate Judges

for a Report and Recommendation. Magistrate Judges are judges selected by the District Judges

to serve for terms of eight years. Magistrate Judges are highly qualified and very experienced.

       You have an option to agree to having the Magistrate Judge to whom your case has been

referred—Magistrate Judge Kevin Nathaniel Fox—decide your case instead of recommending a

decision to the District Court Judge, who would then review the Report and Recommendation

and address any objections to it.

       If you consent to having the Magistrate Judge decide your case, the Magistrate Judge

replaces the District Judge, thereby speeding up the resolution of the case (because only one

judge instead of two will be involved in your case). Any appeal from a Magistrate Judge’s

decision following consent is directly to the United States Court of Appeals for the Second

Circuit in the same way that an appeal from a District Judge’s decision would be taken. If you

do not consent to having the Magistrate Judge decide your case, then the Magistrate Judge will

issue a Report and Recommendation and the District Judge will consider any objections either

party has to the Report and Recommendation before a final judgment is entered in your case.



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         Both you and the Commissioner of Social Security must consent in order for the

Magistrate Judge to decide your case. If you do not consent, there will be no adverse

consequences. If you wish to consent, please sign the enclosed form and mail or hand deliver it

to Lisa Ahearn, Civil Clerk’s Office, Office of the United States Attorney for the Southern

District of New York, 86 Chambers Street - Third Floor, New York, New York 10007. The

United States Attorney’s Office will arrange to have the consent form signed by the District

Judge.



         SO ORDERED.


                                                    
                                                    __________________________________
                                                    Paul A. Engelmayer
                                                    United States District Judge
Dated: October 15, 2020
       New York, New York




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AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                               )
                                 Plaintiff                                     )
                                    v.                                         )      Civil Action No.
                                                                               )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


        Printed names of parties and attorneys                               Signatures of parties RU attorneys                  Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.
